Official Form 1 (10/06)
                                        United States Bankruptcy Court
                                              Western District of Washington                                                                         Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
  Wilson, Gregory Wallace                                                                          Wilson, Norma Ruth


All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-5943                                                                                      xxx-xx-6260
Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
  6210 S Verde                                                                                     6210 S Verde
  Tacoma, WA                                                                                       Tacoma, WA
                                                                               ZIP Code                                                                                     ZIP Code
                                                                           98409                                                                                         98409
County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  Pierce                                                                                           Pierce
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):


                                                                               ZIP Code                                                                                     ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                  Type of Debtor                                  Nature of Business                                   Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                (Check one box)                                      the Petition is Filed (Check one box)
                  (Check one box)                           Health Care Business                            Chapter 7
                                                            Single Asset Real Estate as defined             Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                     in 11 U.S.C. § 101 (51B)                                                         of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                   Chapter 11
                                                            Railroad
                                                                                                            Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                      Stockbroker
                                                                                                            Chapter 13                       of a Foreign Nonmain Proceeding
                                                            Commodity Broker
    Partnership
                                                            Clearing Bank
    Other (If debtor is not one of the above entities,      Other                                                                       Nature of Debts
    check this box and state type of entity below.)                                                                                      (Check one box)
                                                                  Tax-Exempt Entity
                                                                 (Check box, if applicable)                 Debts are primarily consumer debts,                 Debts are primarily
                                                            Debtor is a tax-exempt organization             defined in 11 U.S.C. § 101(8) as                    business debts.
                                                            under Title 26 of the United States             "incurred by an individual primarily for
                                                            Code (the Internal Revenue Code).               a personal, family, or household purpose."

                               Filing Fee (Check one box)                                       Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                       to insiders or affiliates) are less than $2 million.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                     A plan is being filed with this petition.
                                                                                                       Acceptances of the plan were solicited prepetition from one or more
                                                                                                       classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information        *** Julie B Watson WSBA #10766 ***                                                          THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
    there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-         200-       1000-     5001-       10,001-        25,001-   100,001-      OVER
        49           99          199          999        5,000    10,000       25,000         50,000    100,000      100,000


Estimated Assets
        $0 to                      $10,001 to               $100,001 to              $1,000,001 to              More than
        $10,000                    $100,000                 $1 million               $100 million               $100 million

Estimated Liabilities
        $0 to                      $50,001 to               $100,001 to              $1,000,001 to              More than
        $50,000                    $100,000                 $1 million               $100 million               $100 million


                  Case 07-40697-BDL                         Doc 1          Filed 03/07/07                 Ent. 03/07/07 17:48:35                         Pg. 1 of 46
Official Form 1 (10/06)                                                                                                                                   FORM B1, Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Wilson, Gregory Wallace
(This page must be completed and filed in every case)                                  Wilson, Norma Ruth
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X /s/ Julie B Watson WSBA                                    March 6, 2007
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Julie B Watson WSBA #10766

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
      No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                         Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                              (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                   permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                   possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.

                Case 07-40697-BDL                     Doc 1        Filed 03/07/07               Ent. 03/07/07 17:48:35                        Pg. 2 of 46
Official Form 1 (10/06)                                                                                                             FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                   Wilson, Gregory Wallace
(This page must be completed and filed in every case)                                Wilson, Norma Ruth
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     [If no attorney represents me and no bankruptcy petition preparer                 of title 11 specified in this petition. A certified copy of the order granting
     signs the petition] I have obtained and read the notice required                  recognition of the foreign main proceeding is attached.
     by 11 U.S.C. §342(b).
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X /s/ Gregory Wallace Wilson                                                         Printed Name of Foreign Representative
     Signature of Debtor Gregory Wallace Wilson
                                                                                      Date
 X /s/ Norma Ruth Wilson
     Signature of Joint Debtor Norma Ruth Wilson                                         Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     March 6, 2007                                                                    copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X /s/ Julie B Watson WSBA                                                            amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Julie B Watson WSBA #10766
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      Julie B Watson, Attorney
     Firm Name
      10609 Gravelly Lk Dr SW                                                         Social Security number (If the bankrutpcy petition preparer is not
      Lakewood, WA 98499                                                              an individual, state the Social Security number of the officer,
                                                                                      principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address


      253-582-4855 Fax: 253-581-9926
     Telephone Number
                                                                                      Address
     March 6, 2007
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose Social Security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
               Case 07-40697-BDL                  Doc 1        Filed 03/07/07              Ent. 03/07/07 17:48:35                     Pg. 3 of 46
Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                        Western District of Washington
             Gregory Wallace Wilson
 In re       Norma Ruth Wilson                                                                                        Case No.
                                                                                             Debtor(s)                Chapter     13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

         n 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

        o 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
        o 3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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Official Form 1, Exh. D (10/06) - Cont.

       o 4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
               o Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
               o Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
               o Active military duty in a military combat zone.

              o 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Gregory Wallace Wilson
                                                   Gregory Wallace Wilson
 Date:         March 6, 2007




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Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                        Western District of Washington
             Gregory Wallace Wilson
 In re       Norma Ruth Wilson                                                                                        Case No.
                                                                                             Debtor(s)                Chapter     13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

         n 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

        o 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
        o 3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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Official Form 1, Exh. D (10/06) - Cont.

       o 4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
               o Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
               o Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
               o Active military duty in a military combat zone.

              o 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Norma Ruth Wilson
                                                   Norma Ruth Wilson
 Date:         March 6, 2007




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                  Case 07-40697-BDL                                Doc 1             Filed 03/07/07   Ent. 03/07/07 17:48:35   Pg. 7 of 46
Form 6-Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                        Western District of Washington
  In re          Gregory Wallace Wilson,                                                                              Case No.
                 Norma Ruth Wilson
                                                                                                                ,
                                                                                               Debtors                Chapter                   13




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES             OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  194,500.00


B - Personal Property                                             Yes                 4                   15,552.00


C - Property Claimed as Exempt                                    Yes                 2


D - Creditors Holding Secured Claims                              Yes                 2                                         175,915.00


E - Creditors Holding Unsecured                                   Yes                 2                                           1,258.38
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 5                                          25,439.00
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 2                                                                  4,072.30
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                  3,740.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            22


                                                                                Total Assets             210,052.00


                                                                                                 Total Liabilities              202,612.38




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Official Form 6 - Statistical Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                        Western District of Washington
  In re            Gregory Wallace Wilson,                                                                              Case No.
                   Norma Ruth Wilson
                                                                                                             ,
                                                                                          Debtors                       Chapter               13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                    report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                     Amount

              Domestic Support Obligations (from Schedule E)                                                         0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                 1,258.38

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E)
                                                                                                                     0.00

              Student Loan Obligations (from Schedule F)                                                             0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                     0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                     0.00

                                                                                  TOTAL                          1,258.38


              State the following:

              Average Income (from Schedule I, Line 16)                                                          4,072.30

              Average Expenses (from Schedule J, Line 18)                                                        3,740.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                           3,194.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                           0.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                 1,258.38

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                               25,439.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           25,439.00




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Form B6A
(10/05)


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  In re          Gregory Wallace Wilson,                                                                                 Case No.
                 Norma Ruth Wilson
                                                                                                             ,
                                                                                              Debtors
                                                                 SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                             Husband,    Current Value of
                                                                                    Nature of Debtor's        Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                               Interest in Property      Joint, or  Property, without            Secured Claim
                                                                                                            Community Deducting  any Secured
                                                                                                                        Claim or Exemption

Debtor's residence at 6210 S Verde St, Tacoma WA                                   Fee simple                    C                  194,500.00               170,313.00
98409.




                                                                                                             Sub-Total >            194,500.00       (Total of this page)

                                                                                                                     Total >        194,500.00
  0     continuation sheets attached to the Schedule of Real Property                                        (Report also on Summary of Schedules)
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  In re          Gregory Wallace Wilson,                                                                                  Case No.
                 Norma Ruth Wilson
                                                                                                              ,
                                                                                             Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                             N                                                                   Husband,        Current Value of
                 Type of Property                            O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                    Joint, or   without Deducting any
                                                             E                                                                  Community Secured Claim or Exemption

1.     Cash on hand                                              Cash.                                                               C                              7.00

2.     Checking, savings or other financial                      Bank of America checking and savings acct ending                    C                        2,227.00
       accounts, certificates of deposit, or                     in #2628, South Tacoma Branch, WA.
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Couch $50, loveseat $25, 2 endtables $20, dishes &                  C                        2,245.00
       including audio, video, and                               kitchenware $75, refrigerator $750, oven $100,
       computer equipment.                                       microwave $100, 3 tv sets $325, washer $100, dryer
                                                                 $100, yard equipment $100, entertainment center
                                                                 $100, diningroom furniture $100, 2 bedroom sets
                                                                 $200, cleaning tools $50, bed & bath linens $50.

5.     Books, pictures and other art                             Small coin collection.                                              C                            20.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Clothing for 2 debtors @ $250 apiece.                               C                           500.00

7.     Furs and jewelry.                                         Husband: wedding band.                                              C                            75.00

                                                                 Wife: wedding ring $200, wedding band $70, gold                     C                           610.00
                                                                 bracelet $20, 3 gold necklaces $60, various watches
                                                                 $200, diamond ring $60.

8.     Firearms and sports, photographic,                        Golf clubs, bag & cart.                                             C                           150.00
       and other hobby equipment.

9.     Interests in insurance policies.                          Met Life whole life insurance on husband's life:                    C                              0.00
       Name insurance company of each                            $10,263.00 death benefits. Cash surrender value -0-
       policy and itemize surrender or                           due to $1,200.00 loan taken out 9/2006 against the
       refund value of each.                                     cash surrender value.


                                                                                                                                     Sub-Total >            5,834.00
                                                                                                                         (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re          Gregory Wallace Wilson,                                                                                  Case No.
                 Norma Ruth Wilson
                                                                                                              ,
                                                                                             Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                    (Continuation Sheet)

                                                             N                                                                   Husband,        Current Value of
                 Type of Property                            O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                    Joint, or   without Deducting any
                                                             E                                                                  Community Secured Claim or Exemption
                                                                 Disability insurance w/ HFC that makes payments                     C                      Unknown
                                                                 on the second mortgage of $680/month.

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                           Husband: Right to receive military retirement                       C                      Unknown
    other pension or profit sharing                              benefit of $627/month.
    plans. Give particulars.
                                                                 Husband: Right to receive VA monthly benefits of                    C                      Unknown
                                                                 $225.

                                                                 Wife: 401k through employer, (ABHOW held by                         C                        4,056.00
                                                                 Wells Fargo, acct. # ending 6260. Market value
                                                                 based on fund bal. of $6,432.77 less outstanding
                                                                 loan bal. of approx. $1,440.00 less 20% for taxes
                                                                 and penalty chargeable for early withdrawal.

                                                                 Husband's right to receive Social Security monthly                  C                      Unknown
                                                                 benefits of $869.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                      X
    including tax refunds. Give
    particulars.


                                                                                                                                     Sub-Total >            4,056.00
                                                                                                                         (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Gregory Wallace Wilson,                                                                                  Case No.
                 Norma Ruth Wilson
                                                                                                              ,
                                                                                             Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                    (Continuation Sheet)

                                                             N                                                                   Husband,        Current Value of
                 Type of Property                            O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                    Joint, or   without Deducting any
                                                             E                                                                  Community Secured Claim or Exemption

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           1999 Pontiac Sunfire.                                               C                        2,162.00
    other vehicles and accessories.
                                                                 1999 Suzuki Vitara.                                                 C                        2,500.00

                                                                 1999 Dodge Neon.                                                    C                        1,000.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.



                                                                                                                                     Sub-Total >            5,662.00
                                                                                                                         (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Gregory Wallace Wilson,                                                                                  Case No.
                 Norma Ruth Wilson
                                                                                                              ,
                                                                                             Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                    (Continuation Sheet)

                                                             N                                                                   Husband,        Current Value of
                 Type of Property                            O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                    Joint, or   without Deducting any
                                                             E                                                                  Community Secured Claim or Exemption

30. Inventory.                                               X

31. Animals.                                                     1 dog & 1 cat, no market value.                                      C                             0.00

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                     Sub-Total >                  0.00
                                                                                                                         (Total of this page)
                                                                                                                                          Total >         15,552.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                                 (Report also on Summary of Schedules)
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10/05
             Gregory Wallace Wilson
 In re       Norma Ruth Wilson                                                                                         Case No.
                                                                                             Debtor(s)

                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under:                                   o Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                                          $125,000.
n 11 U.S.C. §522(b)(2)
o 11 U.S.C. §522(b)(3)
                                                                                                                           Value of             Current Value of
                                                                                    Specify Law Providing
                   Description of Property                                                                                 Claimed             Property Without
                                                                                       Each Exemption
                                                                                                                          Exemption           Deducting Exemption


 Real Property

 Debtor's residence at 6210 S Verde St,
 Tacoma WA 98409.                                                     11 U.S.C. § 522(d)(1)                                     24,187.00              194,500.00

 Cash on Hand

 Cash.                                                                11 U.S.C. § 522(d)(5)                                            7.00                      7.00

 Checking, Savings, or Other Financial Accounts, Certificates of Deposit

 Bank of America checking and savings
 acct ending in #2628, South Tacoma
 Branch, WA.                                                          11 U.S.C. § 522(d)(5)                                       2,227.00                 2,227.00

 Household Goods and Furnishings

 Couch $50, loveseat $25, 2 endtables $20,
 dishes & kitchenware $75, refrigerator
 $750, oven $100, microwave $100, 3 tv
 sets $325, washer $100, dryer $100, yard
 equipment $100, entertainment center
 $100, diningroom furniture $100, 2
 bedroom sets $200, clean                                             11 U.S.C. § 522(d)(3)                                       2,245.00                 2,245.00

 Books, Pictures and Other Art Objects; Collectibles

 Small coin collection.                                               11 U.S.C. § 522(d)(5)                                           20.00                    20.00

 Wearing Apparel

 Clothing for 2 debtors @ $250 apiece.                                11 U.S.C. § 522(d)(3)                                        500.00                    500.00

 Furs and Jewelry

 Husband: wedding band.                                               11 U.S.C. § 522(d)(4)                                           75.00                    75.00


 Wife: wedding ring $200, wedding band
 $70, gold bracelet $20, 3 gold necklaces
 $60, various watches $200, diamond ring
 $60.                                                                 11 U.S.C. § 522(d)(4)                                        610.00                    610.00




Schedule of Property Claimed as Exempt consists of 2 total pages
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                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
                                                                                     (Continuation Sheet)
                                                                                                                      Value of            Current Value of
                                                                                    Specify Law Providing
                   Description of Property                                                                            Claimed            Property Without
                                                                                       Each Exemption
                                                                                                                     Exemption          Deducting Exemption

 Firearms and Sports, Photographic and Other Hobby Equipment

 Golf clubs, bag & cart.                                              11 U.S.C. § 522(d)(5)                                  150.00                    150.00

 Interests in Insurance Policies

 Met Life whole life insurance on
 husband's life: $10,263.00 death benefits.
 Cash surrender value -0- due to $1,200.00
 loan taken out 9/2006 against the cash
 surrender value.                                                     11 U.S.C. § 522(d)(7)                                      100%                      0.00


 Disability insurance w/ HFC that makes
 payments on the second mortgage of
 $680/month.                                                          11 U.S.C. § 522(d)(10)(C)                                  100%              Unknown

 Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans

 Husband: Right to receive military
 retirement benefit of $627/month.                                    11 U.S.C. § 522(d)(10)(B)                                  0.00              Unknown


 Husband: Right to receive VA monthly
 benefits of $225.                                                    11 U.S.C. § 522(d)(10)(B)                                  0.00              Unknown


 Wife: 401k through employer, (ABHOW
 held by Wells Fargo, acct. # ending 6260.
 Market value based on fund bal. of
 $6,432.77 less outstanding loan bal. of
 approx. $1,440.00 less 20% for taxes and
 penalty chargeable for early withdrawal.                             11 U.S.C. § 522(d)(12)                               4,056.00                  4,056.00


 Husband's right to receive Social Security
 monthly benefits of $869.                  11 U.S.C. § 522(d)(10)(A)                                                            100%              Unknown

 Automobiles, Trucks, Trailers, and Other Vehicles

 1999 Suzuki Vitara.                                                  11 U.S.C. § 522(d)(2)                                  500.00                  2,500.00


 1999 Dodge Neon.                                                     11 U.S.C. § 522(d)(5)                                1,000.00                  1,000.00




                                                                                             Total:                       35,577.00              207,890.00




Sheet 2 of 2 total sheets in Schedule of Property Claimed as Exempt
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   In re           Gregory Wallace Wilson,                                                                                        Case No.
                   Norma Ruth Wilson
                                                                                                                     ,
                                                                                                     Debtors
                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s
 name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P.
 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W              NATURE OF LIEN, AND                        I    Q   U                      PORTION, IF
                                                                T   J             DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                              DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                             G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                  OF PROPERTY
                                                                R
                                                                                      SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. xxxx-xxxx1851                                               2005                                                       E
                                                                                                                                   D

American General                                                        Non-Purchase Money Security
2310 Mildred St W #116
Tacoma, WA 98466-6054                                                   1999 Pontiac Sunfire.
                                                                    C

                                                                         Value $                               2,162.00                          2,162.00                   0.00
Account No. xxxxxx7254                                                  2004

GMAC Mortgage Corp                                                      First Mortgage
Attn: Customer Care
PO Box 4622                                                           Debtor's residence at 6210 S Verde St,
                                                                    C Tacoma WA 98409.
Waterloo, IA 50704-4622

                                                                         Value $                           194,500.00                          135,600.00                   0.00
Account No. xxxxxx-xx-x2367                                             2005

HFC Customer Service                                                    Second Mortgage
6111 Lakewood Twn Ctr Blvd
Lakewood, WA 98499                                                    Debtor's residence at 6210 S Verde St,
                                                                    C Tacoma WA 98409.

                                                                         Value $                           194,500.00                           34,713.00                   0.00
Account No. xxxxxxxx0090                                                2003

Nuvell                                                                  Purchase Money Security
PO Box 7100
Little Rock, AR 72223-7100                                              1999 Suzuki Vitara.
                                                                    C

                                                                         Value $                               2,500.00                          2,000.00                   0.00
                                                                                                                           Subtotal
 1
_____ continuation sheets attached                                                                                                             174,475.00                   0.00
                                                                                                                  (Total of this page)




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   In re            Gregory Wallace Wilson,                                                                                       Case No.
                    Norma Ruth Wilson
                                                                                                                     ,
                                                                                                     Debtors

                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. XXX-XX-6260                                                 2005                                                       E
                                                                                                                                   D

Wells Fargo                                                             Possessory
ABHOW 401K Plan
2700 Snelling Ave N                                                     401(k) loan.
                                                                    C
Suite 300
Saint Paul, MN 55113
                                                                         Value $                               6,432.77                          1,440.00                   0.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                                 1,440.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)
                                                                                                                             Total             175,915.00                   0.00
                                                                                                   (Report on Summary of Schedules)

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  In re           Gregory Wallace Wilson,                                                                                 Case No.
                  Norma Ruth Wilson
                                                                                                               ,
                                                                                             Debtors
                       SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also
     include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
     chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case
     under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative of
     such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a trust
     or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not delivered
     provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or another
     substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1     continuation sheets attached
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                    Case 07-40697-BDL                           Doc 1           Filed 03/07/07       Ent. 03/07/07 17:48:35                   Pg. 19 of 46
 Official Form 6E (10/06) - Cont.




   In re            Gregory Wallace Wilson,                                                                                      Case No.
                    Norma Ruth Wilson
                                                                                                                    ,
                                                                                                     Debtors
                         SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No. xxx-xx-5943                                                 2005                                                      E
                                                                                                                                  D

Internal Revenue Service                                                2004 Income Tax.
915 2nd Ave M/S W244                                                                                                                                         0.00
Seattle, WA 98174-1009
                                                                    C

                                                                                                                                                 1,258.38              1,258.38
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)            1,258.38             1,258.38
                                                                                                                             Total                           0.00
                                                                                                   (Report on Summary of Schedules)              1,258.38             1,258.38

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   In re           Gregory Wallace Wilson,                                                                                      Case No.
                   Norma Ruth Wilson
                                                                                                                          ,
                                                                                                        Debtors

                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the
 child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R.
 Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain
 Liabilities and Related Data.

       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
                   INCLUDING ZIP CODE,                                           E               DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                     W
                  AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                           AMOUNT OF CLAIM
                                                                                 T   J                                                         N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                    (See instructions above.)                                    R
                                                                                     C
                                                                                                                                               E   D   D
                                                                                                                                               N   A
Account No. xxxx-xxxx-xxxx-9365                                                          2005                                                  T   T
                                                                                                                                                   E
                                                                                         Consumer goods & services. (AllianceOne                   D

Capital One                                                                              #DCV218).
PO Box 85167                                                                         C
Richmond, VA 23285-5167

                                                                                                                                                                             717.00
Account No. xxxx-xxxx-xxxx-1476                                                          2005
                                                                                         Consumer goods & services. (NCO Fin Sys
Capital One                                                                              #GES763)
PO Box 85167                                                                         C
Richmond, VA 23285-5167

                                                                                                                                                                             397.00
Account No. xxxxx7641                                                                    2005-2006
                                                                                         Consumer goods & services.
Chevron Credit Bank NA
PO Box 5010                                                                          C
Concord, CA 94524-0010

                                                                                                                                                                           1,230.00
Account No. xxxxx4989                                                                    2005
                                                                                         Consumer goods & services. (Bureau of Coll
Cingular Wireless West                                                                   Recovery #9261359)
c/o Bur of Coll Recovery                                                             C
7575 Corporate Way
Eden Prairie, MN 55344
                                                                                                                                                                             850.00

                                                                                                                                             Subtotal
 4
_____ continuation sheets attached                                                                                                                                         3,194.00
                                                                                                                                   (Total of this page)




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 Official Form 6F (10/06) - Cont.




   In re            Gregory Wallace Wilson,                                                                                     Case No.
                    Norma Ruth Wilson
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
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                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                    (See instructions above.)                                    R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxx-xxxx-xxxx-3649                                                        2004                                                        E
                                                                                       Consumer goods & services. (Atty Sam                        D

Credit One Bank                                                                        Streeter 14092159070104251) (1st Natl Bank of
Bank Card Center                                                                     C Marin) (AllianceOne #1447895)
PO Box 98872
Las Vegas, NV 89193-8872
                                                                                                                                                                          890.00
Account No. xxxx-xxxx-xxxx-8962                                                          2004
                                                                                         Consumer goods & services. (NCO Fin Sys
Cross Country Bank                                                                       #X39548) (Daniel L Gordon, PC #6011099720)
dba Applied Card Bank                                                                C
PO Box 11170
Wilmington, DE 19850-1170
                                                                                                                                                                        1,600.00
Account No. xxx-xxxx-xx9972                                                            2004
                                                                                       Consumer goods & services. (Universal
GE Money Bank                                                                          Fidelity LLP #19-06-413-4001) (Monogram
Lowe's                                                                               C Credit Card Bank of Georgia)
PO Box 981127
El Paso, TX 79998-1127
                                                                                                                                                                          300.00
Account No. xxxx-xxxx-xxxx-1953                                                        2005 - 2006
                                                                                       Consumer goods & services. (Leading Edge
Household Bank                                                                         Recovery Solutions #002516856) (ARM
Attn Dispute Processing                                                              C #8237639) (Atlantic Credit & Finance)
12447 SW 69th Ave
Portland, OR 97223-8517
                                                                                                                                                                          698.00
Account No. xxxx-xxxx-xxxx-6637                                                          2004
                                                                                         Consumer goods & services. (Harold E.
Household Bank                                                                           Scheer, Attorney #12624190070100169)
Attn Dispute Processing                                                              C
12447 SW 69th Ave
Portland, OR 97223-8517
                                                                                                                                                                        1,020.00

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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        4,508.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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 Official Form 6F (10/06) - Cont.




   In re            Gregory Wallace Wilson,                                                                                     Case No.
                    Norma Ruth Wilson
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                    (See instructions above.)                                    R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxx6919                                                                  2005                                                      E
                                                                                         Consumer goods & services. (Van Ru Credit                 D

Macy's                                                                                   Corp #6835809)
1345 S 52nd St                                                                       C
Tempe, AZ 85281

                                                                                                                                                                          540.00
Account No. xxxxxxxx-xxx-4752                                                            2005
                                                                                         Medical services.
NEP/St Clare
PO Box 740021                                                                        C
Cincinnati, OH 45274-0021

                                                                                                                                                                          538.00
Account No. xxxx-xxxx-xxxx-2112                                                          2004
                                                                                         Consumer goods & services. (Daniels &
Orchard Bank                                                                             Norelli, PC #13008041061200066)
Household Credit Services                                                            C
PO Box 80084
Salinas, CA 93912-0084
                                                                                                                                                                        1,200.00
Account No. xxxxx3743                                                                    2006
                                                                                         Criminal fine.
Pierce County Superior Court
930 Tacoma Ave S                                                                     C
Tacoma, WA 98405

                                                                                                                                                                        3,600.00
Account No. SDxxx7746                                                                    08/2005
                                                                                         Medical services.
Rural Metro of Grtr Seattle
PO Box 29874                                                                         C
Phoenix, AZ 85038-9874

                                                                                                                                                                          925.00

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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        6,803.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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 Official Form 6F (10/06) - Cont.




   In re            Gregory Wallace Wilson,                                                                                     Case No.
                    Norma Ruth Wilson
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                    (See instructions above.)                                    R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xx-xxx-x493-1                                                              2004                                                        E
                                                                                       Consumer goods & services. (LTD Fin Svcs                    D

Shell Oil Co                                                                           #3328704931) (Capital Recovery Service LLC
Gasoline Card Center                                                                 C #16058780 CPK)
PO Box 689151
Des Moines, IA 50368-9151
                                                                                                                                                                          520.00
Account No. Bxxx4856                                                                     08/2005
                                                                                         Medical services. (ARSTRAT)
St Clare Hospital
Dept #4106                                                                           C
PO Box 34936
Seattle, WA 98124-1936
                                                                                                                                                                        3,325.00
Account No. xxxx-xxxx-xxxx-7076                                                          2006
                                                                                         Consumer goods & services. (Bur of Coll
Washington Mutual                                                                        Recovery Inc #14042453) (Providian Bank)
Card Services                                                                        C
PO Box 9016
Pleasanton, CA 94566-9016
                                                                                                                                                                          940.00
Account No. xxxx-xxxx-xxxx-4154                                                          2004
                                                                                         Consumer goods & services. (IC System
Washington Mutual                                                                        26170373-325-518-PR2) (Alan M Laksin Atty)
Card Services                                                                        C
PO Box 9016
Pleasanton, CA 94566-9016
                                                                                                                                                                        2,800.00
Account No. xxx8024                                                                    2006
                                                                                       Consumer goods & services. (Nelson &
Wells Fargo Financial                                                                  Kennard for North Star Capital Acquisitions
PO Box 14433                                                                         C LLC #07-03239-0 (Nelson Watson & Assoc
Des Moines, IA 50306                                                                   LLC #82109434) (Tiburon Financial LLC)


                                                                                                                                                                          957.00

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        8,542.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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 Official Form 6F (10/06) - Cont.




   In re            Gregory Wallace Wilson,                                                                                         Case No.
                    Norma Ruth Wilson
                                                                                                                           ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                            O                                                                  O   N   I
                  AND MAILING ADDRESS                                            D   H                                                              N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                    (See instructions above.)                                    R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. xxxx9434                                                                     2005                                                           E
                                                                                         Consumer goods & services.                                     D

Wells Fargo Financial
600 Locust St #900                                                                   C
Des Moines, IA 50309-3716

                                                                                                                                                                               270.00
Account No.                                                                            05/2005
                                                                                       Deficency on vehicle repossessed 2/14/2006.
WFS Financial                                                                          (Routh Crabtree Olsen PS, Pierce Co Sup
375 Corporate Dr S #202                                                              C Court case pending)
Seattle, WA 98188

                                                                                                                                                                             2,122.00
Account No.




Account No.




Account No.




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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                             2,392.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                 25,439.00


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Form B6G
(10/05)


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  In re             Gregory Wallace Wilson,                                                                           Case No.
                    Norma Ruth Wilson
                                                                                                           ,
                                                                                          Debtors
                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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Form B6H
(10/05)


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  In re          Gregory Wallace Wilson,                                                                        Case No.
                 Norma Ruth Wilson
                                                                                                         ,
                                                                                          Debtors
                                                                       SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR




       0       continuation sheets attached to Schedule of Codebtors

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              Gregory Wallace Wilson
  In re       Norma Ruth Wilson                                                                          Case No.
                                                                               Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                     DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                            AGE(S):
        Married                                None.

 Employment:                                                DEBTOR                                               SPOUSE
 Occupation                                                                                     9 yrs
 Name of Employer                     Disabled                                                  American Baptist Homes of the West
 How long employed                                                                              Restorative Aide
 Address of Employer                                                                            6120 Stoneridge Mall Rd
                                                                                                3rd Floor
                                                                                                Pleasanton, CA 94588
 INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                  SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $               0.00    $         2,154.00
 2. Estimate monthly overtime                                                                             $               0.00    $             0.00

 3. SUBTOTAL                                                                                              $               0.00    $         2,154.00

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                 $               0.00    $          350.00
     b. Insurance                                                                                         $               0.00    $           46.00
     c. Union dues                                                                                        $               0.00    $            0.00
     d. Other (Specify):     401k loan                                                                    $               0.00    $           42.00
                                 401K contribution                                                        $               0.00    $          107.70

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $               0.00    $          545.70

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $               0.00    $         1,608.30

 7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00    $             0.00
 8. Income from real property                                                                             $               0.00    $             0.00
 9. Interest and dividends                                                                                $               0.00    $             0.00
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above                                                                     $               0.00    $             0.00
 11. Social security or government assistance
 (Specify):         social security                                                                       $             869.00    $             0.00
                                                                                                          $               0.00    $             0.00
 12. Pension or retirement income                                                                         $             640.00    $             0.00
 13. Other monthly income
 (Specify):        See Detailed Income Attachment                                                         $             955.00    $             0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         2,464.00      $             0.00

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,464.00      $         1,608.30

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                        $            4,072.30
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                     (Report also on Summary of Schedules and, if applicable, on
                                                                                     Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
              None.




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Official Form 6I (10/06)



              Gregory Wallace Wilson
  In re       Norma Ruth Wilson                                                   Case No.
                                                           Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                               Detailed Income Attachment



Other Monthly Income:
 VA disability                                                                   $           225.00   $        0.00
 HFC disability ins payments for 2nd mtge                                        $           680.00   $        0.00
 VA rehabilitative incentive pay                                                 $            50.00   $        0.00
 Total Other Monthly Income                                                      $           955.00   $        0.00




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Official Form 6J (10/06)


            Gregory Wallace Wilson
 In re      Norma Ruth Wilson                                                                 Case No.
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                  911.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                  259.00
                   b. Water and sewer                                                                       $                    0.00
                   c. Telephone                                                                             $                   80.00
                   d. Other Internet/Cable                                                                  $                   75.00
3. Home maintenance (repairs and upkeep)                                                                    $                   48.00
4. Food                                                                                                     $                  460.00
5. Clothing                                                                                                 $                  126.00
6. Laundry and dry cleaning                                                                                 $                    0.00
7. Medical and dental expenses                                                                              $                    0.00
8. Transportation (not including car payments)                                                              $                  500.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   30.00
10. Charitable contributions                                                                                $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                    0.00
                   b. Life                                                                                  $                    0.00
                   c. Health                                                                                $                    0.00
                   d. Auto                                                                                  $                  121.00
                   e. Other                                                                                 $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                  $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                    0.00
                   b. Other HFC disability ins payments for 2nd mtge                                        $                  680.00
                   c. Other                                                                                 $                    0.00
                   d. Other                                                                                 $                    0.00
14. Alimony, maintenance, and support paid to others                                                        $                    0.00
15. Payments for support of additional dependents not living at your home                                   $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                    0.00
17. Other See Detailed Expense Attachment                                                                   $                  450.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                3,740.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
       None, however, debtors may have to start paying the 2nd mortgage pymts of $680/mo if
       debtor's disability ins benefits are not renewed after Dec 2007, based on his status of
       disability.
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                4,072.30
b. Average monthly expenses from Line 18 above                                                              $                3,740.00
c. Monthly net income (a. minus b.)                                                                         $                  332.30




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Official Form 6J (10/06)
            Gregory Wallace Wilson
 In re      Norma Ruth Wilson                                                   Case No.
                                                         Debtor(s)

                      SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Detailed Expense Attachment




Other Expenditures:
Personal                                                                                   $               50.00
Misc                                                                                       $               60.00
Mr. Wilson's criminal fines                                                                $              300.00
Mrs. Wilson's work uniforms                                                                $               40.00
Total Other Expenditures                                                                   $              450.00




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Official Form 6-Declaration. (10/06)

                                                                  United States Bankruptcy Court
                                                                        Western District of Washington
             Gregory Wallace Wilson
 In re       Norma Ruth Wilson                                                                                       Case No.
                                                                                             Debtor(s)               Chapter    13




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                24  sheets [total shown on summary page plus 2], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date March 6, 2007                                                             Signature    /s/ Gregory Wallace Wilson
                                                                                             Gregory Wallace Wilson
                                                                                             Debtor


 Date March 6, 2007                                                             Signature    /s/ Norma Ruth Wilson
                                                                                             Norma Ruth Wilson
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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Official Form 7
(10/05)


                                                                  United States Bankruptcy Court
                                                                        Western District of Washington
             Gregory Wallace Wilson
 In re       Norma Ruth Wilson                                                                                    Case No.
                                                                                             Debtor(s)            Chapter        13


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     o            business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $6,111.00                                01/01/07--03/02/07 Wife: American Baptist Homes of the West.
                           $27,753.00                               01/01/06--12/31/06 Wife: American Baptist Homes of the West.
                           $26,142.00                               01/01/05--12/31/05 Wife: American Baptist Homes of the West.
                           $1,406.00                                01/01/06--12/31/06 Husband: Group Health Cooperative.
                           $24,259.00                               01/01/05--12/31/05 Husband: Group Health Cooperative.




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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     o         during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $6,288.00                                2007 Husband: VA disability $699; VA Rehab Incentive Pay $150; Soc
                                                                                 Sec $2,217; mil ret $1,881; disability ins. benefits paid to
                                                                    HFC for 2nd mtge pymts $2040.
                           $29,129.00                               2006 Husband: VA disability $2,628; VA Rehab Incentive $50; Soc Sec
                                                                               $9,840; mil ret $8,451; disability ins. benefits paid to HFC for
                                                                               2nd mtge pymts $8,160.
                           $9,326.00                                2005 Husband: Social Security $1,353; military retirement $7,973.

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.
     o
               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                            AMOUNT STILL
     OF CREDITOR                                                                   PAYMENTS                      AMOUNT PAID              OWING
 GMAC Mortgage Corp                                                                01/2007; 02/2007; 03/2007.      $2,733.00           $135,600.00
 Attn: Customer Care
 PO Box 4622
 Waterloo, IA 50704-4622
 HFC Customer Service                                                              01/07; 02/07; 03/07.              $2,040.00          $34,713.00
 6111 Lakewood Twn Ctr Blvd                                                        (paid by disability ins
 Lakewood, WA 98499                                                                pymts)

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
     n         immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                      AMOUNT
                                                                                   DATES OF                            PAID OR
                                                                                   PAYMENTS/                         VALUE OF          AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                        TRANSFERS            OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
     n         creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT               AMOUNT PAID             OWING




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               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     o         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY              STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION                 DISPOSITION
 WFS Financial Inc. v Wilson                    Debt collection                              Pierce Co. Superior Court,   Unfiled as of this date.
                                                                                             Tacoma, WA

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                    DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                 PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     n         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,             DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                     PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     n         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                         TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                            DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                      ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     o         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                          DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                         DATE OF GIFT      VALUE OF GIFT
 Goodwill of America                                               none                                    2006             Approximately $500 in
 Tacoma, WA                                                                                                                 clothing and personal items.




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               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     n         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     o         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                      AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER               OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                            OF PROPERTY
 Julie B Watson                                                                   02/2007.                            $300.00.
 Attorney at Law
 10609 Gravelly Lake Dr SW
 Lakewood, WA 98499

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
     n         transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
     n         trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)             IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     n         otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,           AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                 OR CLOSING




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               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     n         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                      DESCRIPTION             DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                      OF CONTENTS              SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
     n         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.
     n
                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                       LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
     n         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                             DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     n         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law




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    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     n         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                  DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                    NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     n         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                  DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                    NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     n         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
     n         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                             BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                   NATURE OF BUSINESS              ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     n
 NAME                                                                           ADDRESS




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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date March 6, 2007                                                             Signature    /s/ Gregory Wallace Wilson
                                                                                             Gregory Wallace Wilson
                                                                                             Debtor


 Date March 6, 2007                                                             Signature    /s/ Norma Ruth Wilson
                                                                                             Norma Ruth Wilson
                                                                                             Joint Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                        Western District of Washington
             Gregory Wallace Wilson
 In re       Norma Ruth Wilson                                                                                        Case No.
                                                                                             Debtor(s)                Chapter    13


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $               1,800.00
              Prior to the filing of this statement I have received                                               $                   300.00
              Balance Due                                                                                         $               1,500.00

2.     $     274.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                   Other (specify):

4.     The source of compensation to be paid to me is:
                   Debtor                   Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               all services that exceed 10 hours and contested or adversarial proceedings, lien avoidance, relief from stay
               actions, continued 341 hearings, amendments to schedules or statements, objections to discharge or
               conversions. All services billed at $180.00 hourly.

                   Approved this 6th day of March 2007.


                   /s/Gregory Wallace Wilson                              /s/Norma R. Wilson________
                   Debtor                                                 Debtor
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       March 6, 2007                                                                  /s/ Julie B Watson WSBA
                                                                                             Julie B Watson WSBA #10766
                                                                                             Julie B Watson, Attorney
                                                                                             10609 Gravelly Lk Dr SW
                                                                                             Lakewood, WA 98499
                                                                                             253-582-4855 Fax: 253-581-9926




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                                                         UNITED STATES BANKRUPTCY COURT
                                                         WESTERN DISTRICT OF WASHINGTON

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE
                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 Julie B Watson WSBA #10766                                                                  X /s/ Julie B Watson WSBA                 March 6, 2007
Printed Name of Attorney                                                                       Signature of Attorney                   Date
Address:
10609 Gravelly Lk Dr SW
Lakewood, WA 98499
253-582-4855

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Gregory Wallace Wilson
 Norma Ruth Wilson                                                                           X /s/ Gregory Wallace Wilson              March 6, 2007
 Printed Name of Debtor                                                                        Signature of Debtor                     Date

 Case No. (if known)                                                                         X /s/ Norma Ruth Wilson                   March 6, 2007
                                                                                               Signature of Joint Debtor (if any)      Date




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                                                                        Western District of Washington
             Gregory Wallace Wilson
 In re       Norma Ruth Wilson                                                                                     Case No.
                                                                                             Debtor(s)             Chapter     13




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      March 6, 2007                                                       /s/ Gregory Wallace Wilson
                                                                                Gregory Wallace Wilson
                                                                                Signature of Debtor

 Date:      March 6, 2007                                                       /s/ Norma Ruth Wilson
                                                                                Norma Ruth Wilson
                                                                                Signature of Debtor




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ALLIANCEONE REC MGMNT                    ALLIANCEONE RECEIVABLES MGMNT AMERICAN GENERAL
4850 STREET RD #300                      1160 CENTRE POINT DR #1       2310 MILDRED ST W #116
 TREVOSE PA 19053                        MENDOLA HEIGHTS MN 55120      TACOMA WA 98466-6054




ARM                                      ARSTRAT                              ATLANTIC CREDIT & FINANCE
PO BOX 129                               20819 72ND AVE S #305                3353 ORANGE AVE
THOROFARE NJ 08086-0129                  KENT WA 98032                        ROANOKE VA 24012




BUR OF COLL RECOVERY INC                 BUREAU OF COLL RECOVERY INC          CAPITAL ONE
7575 CORPORATE WAY                       7575 CORPORATE WAY                   PO BOX 85167
EDEN PRAIRIE MN 55344                    EDEN PRAIRIE MN 55344                RICHMOND VA 23285-5167




CAPITAL ONE                              CAPITAL RECOVERY SVC LLC             CHEVRON CREDIT BANK NA
PO BOX 30285                               DBA CRS OF VA LLC                  PO BOX 5010
SALT LAKE CITY UT 84130-0285             PO BOX 11537                         CONCORD CA 94524-0010
                                         JACKSONVILLE FL 32239-1537



CINGULAR WIRELESS WEST                   CREDIT ONE BANK                      CROSS COUNTRY BANK
C/O BUR OF COLL RECOVERY                 BANK CARD CENTER                     DBA APPLIED CARD BANK
7575 CORPORATE WAY                       PO BOX 98872                         PO BOX 11170
EDEN PRAIRIE MN 55344                    LAS VEGAS NV 89193-8872              WILMINGTON DE 19850-1170



DANIEL N GORDON PC                       DANIELS & NORELLI, PC                FIRST NATL BANK OF MARIN
3390 WEST 11TH AVE #D                    900 MERCHANTS CONC #400              PO BOX 98873
PO BOX 22338                             WESTBURY NY 11590                    LAS VEGAS NV 89193
EUGENE OR 97402



GE MONEY BANK                            GMAC MORTGAGE CORP                   HFC CUSTOMER SERVICE
LOWE'S                                   ATTN: CUSTOMER CARE                  6111 LAKEWOOD TWN CTR BLVD
PO BOX 981127                            PO BOX 4622                          LAKEWOOD WA 98499
EL PASO TX 79998-1127                    WATERLOO IA 50704-4622



HOUSEHOLD BANK                           HOUSEHOLD BANK                       IC SYSTEM INC
ATTN DISPUTE PROCESSING                  HOUSEHOLD CREDIT SVCS                512 BELL ST
12447 SW 69TH AVE                        PO BOX 81622                         EDMONDS WA 98020-3147
PORTLAND OR 97223-8517                   SALINAS CA 93912-1622



INTERNAL REVENUE SERVICE                 INTERNAL REVENUE SERVICE             LAW OFFICE OF HAROLD E SC
915 2ND AVE M/S W244                     FRESNO CA 93888-0025                 4237 SALISBURY RD N #308
SEATTLE WA 98174-1009                                                         JACKSONVILLE FL 32216



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LAW OFFICE OF SAM STREETER               LAW OFFICES OF ALAN M LASKIN         LEADING EDGE RECOVERY SOL
PO BOX 420848                            7311 GREENHAVEN DR #273              5440 N CUMBERLAND AVE #300
HOUSTON TX 77242                         SACRAMENTO CA 95831                  CHICAGO IL 60656-1490




LTD FIN SVCS LP                          MACY'S                               MONOGRAM CREDIT CARD
7322 SOUTHWEST FRWY #1600                1345 S 52ND ST                        BANK OF GEORGIA
HOUSTON TX 77074                         TEMPE AZ 85281                       4125 WINDWARD PLAZA DR
                                                                              ALPHARETTA GA 30005



NATL AUTO FIN CO                         NCO FIN SVCS                         NCO FIN SYS INC
PO BOX 2365                              1804 WASHINGTON BLVD MS 450          507 PRUDENTIAL RD
MEMPHIS TN 38101-2365                    DEPT 03                              HORSHAM PA 19044
                                         BALTIMORE MD 21230



NELSON & KENNARD                         NELSON, WATSON & ASSOC LLC           NEP/ST CLARE
ATTORNEYS AT LAW                         80 MERRIMACK ST LOWER LEVEL          PO BOX 740021
PO BOX 13807                             HAVERHILL MA 01830                   CINCINNATI OH 45274-0021
SACRAMENTO CA 95853



NEP/ST CLARE                             NORTH STAR CAP ACQU LLC              NUVELL
DEPT C                                   220 JOHN GLENN DR #100               PO BOX 7100
2620 RIDGEWOOD RD                        BUFFALO NY 14228                     LITTLE ROCK AR 72223-7100
AKRON OH 44313-3527



ORCHARD BANK                             PIERCE COUNTY SUPERIOR COURT         PROVIDIAN BILLING DISPUTES
HOUSEHOLD CREDIT SERVICES                930 TACOMA AVE S                     PO BOX 9016
PO BOX 80084                             TACOMA WA 98405                      PLEASANTON CA 94566-9016
SALINAS CA 93912-0084



ROUTH CRABTREE OLSEN, PS                 RURAL METRO OF GRTR SEATTLE          RURAL METRO OF GRTR SEATT
3535 FACTORIA BLVD # 200                 PO BOX 29874                         PO BOX 8512
BELLEVUE WA 98006                        PHOENIX AZ 85038-9874                SCOTTSDALE AZ 85252-8512




SHELL OIL CO                             ST CLARE HOSPITAL                    TIBURON FIN LLC
GASOLINE CARD CENTER                     DEPT #4106                           218A S 108TH AVE
PO BOX 689151                            PO BOX 34936                         OMAHA NE 68154-2631
DES MOINES IA 50368-9151                 SEATTLE WA 98124-1936



UNIVERSAL FIDELITY LP                    VAN RU CREDIT CORP                   WASHINGTON MUTUAL
PO BOX 941911                            PO BOX 46549                         CARD SERVICES
HOUSTON TX 77094-8911                    CHICAGO IL 60646-0549                PO BOX 9016
                                                                              PLEASANTON CA 94566-9016


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WELLS FARGO                             WELLS FARGO FINANCIAL                WELLS FARGO FINANCIAL
ABHOW 401K PLAN                         PO BOX 14433                         600 LOCUST ST #900
2700 SNELLING AVE N                     DES MOINES IA 50306                  DES MOINES IA 50309-3716
SUITE 300
SAINT PAUL MN 55113

WELLS FARGO FINANCIAL                   WFS FINANCIAL
4020 S STEELE ST #104                   375 CORPORATE DR S #202
TACOMA WA 98409-7351                    SEATTLE WA 98188




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